Case 18-13484-KHK        Doc 16     Filed 11/13/18 Entered 11/13/18 15:48:28        Desc Main
                                   Document      Page 1 of 11


                     UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                              Alexandria Division

                    CHAPTER 13 PLAN AND RELATED MOTIONS




Name of Debtor(s):                                    Case No. 18-13484-KHK

SAMUEL O. NYARKO


This Plan, dated November 13, 2018, is:

       the first Chapter 13 Plan filed in this case.

1.     NOTICES

To Creditors:
Your rights may be affected by this plan. Your claim may be reduced, modified, or
eliminated. You should read this plan carefully and discuss it with your attorney if
you have one in this bankruptcy case. If you do not have an attorney, you may wish
to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or
your attorney must file an objection to confirmation at least 7 days before the date
set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
Court. The Bankruptcy Court may confirm this plan without further notice if no
objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, you may
need to file a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance.

Debtors must check one box on each line to state whether or not the plan includes
each of the following items. If an item is checked as “Not Included” or if both boxes
are checked, the provision will be ineffective if set out later in the plan.

A. A limit on the amount of a secured claim, set out in Section 4.A   Included   Not included
   which may result in a partial payment or no payment at all to
   the secured creditor                                                                 X

                                                 1
Case 18-13484-KHK        Doc 16    Filed 11/13/18 Entered 11/13/18 15:48:28            Desc Main
                                  Document      Page 2 of 11


B. Avoidance of a judicial lien or nonpossessory, nonpurchase-       Included      Not included
   money security interest, set out in Section 8.A                                         X

C. Nonstandard provisions, set out in Part 12                        Included      Not included

                                                                                          X

2.     Funding of Plan. The debtor(s) propose to pay the trustee the sum of $600 per month for
       60 months. Other payments to the Trustee are as follows: n/a. The total amount to be
       paid into the Plan is $36,000.

3.     Priority Creditors. The Trustee shall pay allowed priority claims in full unless the
       creditor agrees otherwise.

       A. Administrative Claims under 11 U.S.C. § 1326.

               1.     The Trustee will be paid the percentage fee fixed under 28 U.S.C.
                      § 586(e), not to exceed 10% of all sums received under the plan.

               2.     Check one line:

                      ___     Debtor(s)’ attorney has chosen to be compensated pursuant to the
                              “no-look” fee under Local Bankruptcy Rule 2016-1(C)(1)(a) and
                              (C)(3)(a) and will be paid $_______, balance due of the total fee of
                              $________ concurrently with or prior to the payments to remaining
                              creditors.

                        X     Debtor(s)’ attorney has chosen to be compensated pursuant to
                              Local Bankruptcy Rule 2016-1(C)(1)(c)(ii) and must submit
                              applications for compensation as set forth in the Local Rules.

       B.      Claims under 11 U.S.C. § 507.

       The following priority creditors will be paid by deferred cash payments pro rata with
       other priority creditors or in monthly installments as below, except that allowed claims
       pursuant to 11 U.S.C. § 507(a)(1) will be paid pursuant to 3.C below:

       Creditor               Type of Priority       Estimated Claim       Payment and Term

       IRS                    Income taxes           $500.00               Pro rata

       Virginia               Income taxes           $634.15               Pro rata




                                                 2
Case 18-13484-KHK       Doc 16    Filed 11/13/18 Entered 11/13/18 15:48:28            Desc Main
                                 Document      Page 3 of 11


      C.     Claims under 11 U.S.C. § 507(a)(1)

      Not applicable.

4.    Secured Creditors: Motions to Value Collateral (“Cramdown”), Collateral being
      Surrendered, Adequate Protection Payments, and Payment of certain Secured
      Claims.

      A.     Motions to Value Collateral (other than claims protected from “cramdown”
             by 11 U.S.C. § 1322(b)(2) or by the final paragraph of 11 U.S.C. § 1325(a)).
             Unless a written objection is timely filed with the Court, the Court may grant
             the debtor(s)’ motion to value collateral as set forth herein.

             Not applicable.

      B.     Real or Personal Property to be Surrendered.

             Not applicable.

      C.     Adequate Protection Payments.

             Not applicable.

      D.     Payment of Secured Claims on Property Being Retained (except those loans
             provided for in section 6 of the Plan):

      This section deals with payment of debts secured by real and/or personal property
      [including short term obligations, judgments, tax liens and other secured debts]. After
      confirmation of the Plan, the Trustee will pay to the holder of each allowed secured
      claim, which will be either the balance owed on the indebtedness or, where applicable,
      the collateral’s replacement value as specified in sub-section A of this section, whichever
      is less, with interest at the rate provided below, the monthly payment specified below
      until the amount of the secured claim has been paid in full. Upon confirmation of the
      Plan, the valuation specified in sub-section A and interest rate shown below will be
      binding unless a timely written objection to confirmation is filed with and sustained
      by the Court.
                                        Approx. Bal. of Debt or   Interest Monthly Payment
      Creditor         Collateral       “Crammed Down” Value         Rate & Est. Term

      Not applicable.




                                               3
Case 18-13484-KHK      Doc 16     Filed 11/13/18 Entered 11/13/18 15:48:28            Desc Main
                                 Document      Page 4 of 11


      E.     Other Debts.

      Debts which are (i) mortgage loans secured by real estate which is the debtor(s)’ principal
      residence, or (ii) other long term obligations, whether secured or unsecured, to be
      continued upon the existing contract terms with any existing default in payments to be
      cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 6 of the Plan.

5.    Unsecured Claims.

      A.     Not separately classified. Allowed non-priority unsecured claims shall be paid
             pro rata from any distribution remaining after disbursement to allowed secured
             and priority claims. Estimated distribution is approximately 100%. The dividend
             percentage may vary depending on actual claims filed. If this case were liquidated
             under Chapter 7, the debtor(s) estimate that unsecured creditors would receive a
             dividend of approximately 0%.

      B.     Separately classified unsecured claims.

             Not applicable.

6.    Mortgage Loans Secured by Real Property Constituting the Debtor(s)’ Principal
      Residence; Other Long Term Payment Obligations, whether secured or unsecured,
      to be continued upon existing contract terms; Curing of any existing default under
      11 U.S.C. § 1322(b)(5).

      A.     Debtor(s) to make regular contract payments; arrears, if any, to be paid by
             Trustee. The creditors listed below will be paid by the debtor(s) pursuant to the
             contract without modification, except that arrearages, if any, will be paid by the
             Trustee either pro rata with other secured claims or on a fixed monthly basis as
             indicated below, without interest unless an interest rate is designated below for
             interest to be paid on the arrearage claim and such interest is provided for in the
             loan agreement. A default on the regular contract payments on the debtor(s)’
             principal residence is a default under the terms of the plan.

                    Regular                         Arrearage                     Monthly
                    Contract        Estimated       Interest       Estimated      Arrearage
Creditor Collateral Payment         Arrearage       Rate           Cure Period    Payment

Planet  Debtor’s $3,462.98          $0              N/A            N/A            N/A
Home    residence
Lending




                                                4
Case 18-13484-KHK       Doc 16     Filed 11/13/18 Entered 11/13/18 15:48:28               Desc Main
                                  Document      Page 5 of 11


Bayview    Fifer Dr. $1,147.81        $30,898.39       0                              Pro rata
           Rental property


      B.      Trustee to make contract payments and cure arrears, if any.

              Not applicable.

      C.      Restructured Mortgage Loans to be paid fully during term of Plan.

              Not applicable.

7.    Unexpired Leases and Executory Contracts.

              Not applicable.

8.    Liens Which Debtor(s) Seek to Avoid.

      A. The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f).

              Not applicable.

      B. Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f).

              Not applicable.

9.    Treatment and Payment of Claims.

      –All creditors must timely file a proof of claim to receive any payment from the Trustee.

      –If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is
      secured but does not timely object to confirmation of the Plan, the creditor may be treated
      as unsecured for purposes of distribution under the Plan. This paragraph does not limit
      the right of the creditor to enforce its lien, to the extent not avoided or provided for in this
      case, after the debtor(s) receive a discharge.

      –If a claim is listed in the Plan as secured and the creditor files a proof of claim alleging
      the claim is unsecured, the creditor will be treated as unsecured for purposes of
      distribution under the Plan.

      –The Trustee may adjust the monthly disbursement amount as needed to pay an allowed
      secured claim in full.



                                                 5
Case 18-13484-KHK        Doc 16     Filed 11/13/18 Entered 11/13/18 15:48:28               Desc Main
                                   Document      Page 6 of 11


       –If relief from the automatic stay is ordered as to any item of collateral listed in the plan,
       then, unless otherwise ordered by the court, all payments as to that collateral will cease,
       and all secured claims based on that collateral will no longer be treated by the plan.

       –Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on
       the proof of claim controls over any contrary amounts listed in the plan.

10.    Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s)
       upon confirmation of the Plan. Notwithstanding such vesting, the debtor(s) may not
       transfer, sell, refinance, encumber real property or enter into a mortgage loan
       modification without approval of the Court after notice to the Trustee, any creditor who
       has filed a request for notice and other creditors to the extent required by the Local Rules
       of this Court.

11.    Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional
       indebtedness exceeding the cumulative total of $5,000 principal amount during the term
       of this Plan, whether unsecured or secured, except upon approval of the Court after notice
       to the Trustee, any creditor who has filed a request for notice, and other creditors to the
       extent required by the Local Rules of this Court.

12.    Nonstandard Plan Provisions:

       None.


Date: 11/13/18


/s/Samuel O. Nyarko                            /s/Steven B. Ramsdell
Samuel O. Nyarko                              Steven B. Ramsdell, VA Bar #33222
                                                      Counsel to the Debtor
                                              Tyler, Bartl & Ramsdell, P.L.C.
                                              300 N. Washington St., Suite 310
                                              Alexandria, VA 22314
                                              (703) 549-5003

By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by
an attorney, also certif(ies) that the wording and order of the provisions in this Chapter 13 plan
are identical to those contained in the Local Form Plan, other than any nonstandard provisions
included in Part 12.

Exhibits:      Copy of Debtor(s)’ Budget (Schedules I and J); Matrix of Parties Served with
               Plan


                                                  6
Case 18-13484-KHK        Doc 16    Filed 11/13/18 Entered 11/13/18 15:48:28            Desc Main
                                  Document      Page 7 of 11




                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing Chapter 13 Plan And Related Motions,
together with a copy of the Debtor’s schedules I & J, were mailed on this 13th day of November,
2018, to all creditors and parties in interest in this case, all of whom are set forth on the list
attached hereto.
                                                  /s/Steven B. Ramsdell
                                                 Steven B. Ramsdell


Bayview Loan Servicing, LLC                          Thomas P. Gorman, Trustee
P.O. Box 650091                                      300 N. Washington St., #400 Alexandria,
Dallas, TX 75265-0091                                VA 22314-2550

BWW Law Group, LLC                                   Office of the U.S. Trustee
6003 Executive Blvd.                                 1725 Duke St., Suite 650
Suite 101                                            Alexandria, VA 22314-3489
Rockville, MD 20852
                                                     Mark D. Meyer, Esq.
Commonwealth of Virginia                             Rosenberg & Associates, LLC
Dept. of Taxation                                    4340 East West Hwy., Suite 600
Legal Unit, P.O. Box 2156                            Bethesda, MD 20814
Richmond, VA 23218

FCI Lender Services, Inc.
P.O. Box 27370
Anaheim, CA 92809-0112

Internal Revenue Service
400 N. 8th Street, Box 76
Stop Room 898
Richmond, VA 23219

Planet Home Lending, LLC
P.O. Box 660016
Dallas, TX 75266-0016

Samuel Nyarko
4325 Upland Dr.
Alexandria, VA 22310




                                                7
             Case 18-13484-KHK                    Doc 16    Filed 11/13/18 Entered 11/13/18 15:48:28                                 Desc Main
                                                           Document      Page 8 of 11


Fill in this information to identify your case:

Debtor 1                      Samuel Ohene Nyarko

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF VIRGINIA

Case number               18-13484-KHK                                                                   Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                                Not employed
       employers.
                                             Occupation            Disabled
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                    page 1
           Case 18-13484-KHK               Doc 16        Filed 11/13/18 Entered 11/13/18 15:48:28                                   Desc Main
                                                        Document      Page 9 of 11

Debtor 1    Samuel Ohene Nyarko                                                                   Case number (if known)    18-13484-KHK


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $              N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $               N/A
      5e.   Insurance                                                                      5e.        $              0.00     $               N/A
      5f.   Domestic support obligations                                                   5f.        $              0.00     $               N/A
      5g.   Union dues                                                                     5g.        $              0.00     $               N/A
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $      5,065.00         $               N/A
      8b. Interest and dividends                                                           8b.        $          0.00         $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00         $               N/A
      8d. Unemployment compensation                                                        8d.        $          0.00         $               N/A
      8e. Social Security                                                                  8e.        $      2,414.60         $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 N/A
      8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          7,479.60         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              7,479.60 + $              N/A = $         7,479.60
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $         7,479.60
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
       Case 18-13484-KHK                      Doc 16        Filed 11/13/18 Entered 11/13/18 15:48:28                                   Desc Main
                                                           Document     Page 10 of 11


Fill in this information to identify your case:

Debtor 1                Samuel Ohene Nyarko                                                                Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY

Case number           18-13484-KHK
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and
      Debtor 2.
                                           Yes.   Fill out this information for
                                                   each dependent..............
                                                                                   Dependent’s relationship to
                                                                                   Debtor 1 or Debtor 2
                                                                                                                        Dependent’s
                                                                                                                        age
                                                                                                                                        Does dependent
                                                                                                                                        live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            Son                                  14               Yes
                                                                                                                                         No
                                                                                   Son                                  14               Yes
                                                                                                                                         No
                                                                                   Son                                  16               Yes
                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include
      expenses of people other than
                                                  No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             3,462.98

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            150.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
       Case 18-13484-KHK                      Doc 16        Filed 11/13/18 Entered 11/13/18 15:48:28                                        Desc Main
                                                           Document     Page 11 of 11

Debtor 1     Samuel Ohene Nyarko                                                                       Case number (if known)      18-13484-KHK

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 100.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                600.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 50.00
10.   Personal care products and services                                                    10. $                                                   0.00
11.   Medical and dental expenses                                                            11. $                                                  30.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   75.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal property taxes on vehicles                                           16. $                                                    7.50
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                               1,147.81
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                  52.50
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                 150.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:                                                                        21. +$                                                 0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       6,425.79
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       6,425.79
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               7,479.60
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              6,425.79

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,053.81

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
